                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                   EASTERN DIVISION


JOHN DOE                                                                                          PLAINTIFF

V.                                                          CIVIL ACTION NO. 2:18-CV-153-KS-MTP

THE UNIVERSITY OF SOUTHERN
MISSISSIPPI, et al.                                                                           DEFENDANTS



                              MEMORANDUM OPINION AND ORDER

        This cause came before the Court on the Plaintiff John Doe’s Emergency Motion for

Temporary Restraining Order and Injunctive Relief [5]. 1 Defendants responded [21] and an

evidentiary hearing was held on September 10, 2018. Having reviewed the parties filings,

reviewed the evidence submitted at the hearing and heard argument of counsel, and otherwise

being fully advised in the premises, the Court finds that the motion will be granted in part and

denied in part.

        The Court begins by noting, “The purpose of a preliminary injunction is to preserve the

status quo and thus prevent irreparable harm until the respective rights of the parties can be

ascertained during a trial on the merits.” Exhibitors Poster Exch., Inc. v. Nat’l Screen Svc. Corp.,

441 F.2d 560, 561 (5th Cir. 1971). In his motion, Plaintiff seeks not only prohibitory injunctive

relief, but also, more importantly, mandatory injunctive relief, which requires the University to

take action. See Meghrig v. KFC W., Inc. 516 U.S. 479, 484 (1996) (explaining that a prohibitory

injunction “restrains” a party from acting whereas a mandatory injunction requires a party to

“take action”). Only in rare instances is the issuance of this type of injunction proper, and a


1
  This Court previously denied the motion in so far as it sought a Temporary Restraining Order. [14]. The Court now
considers the request for a preliminary injunction.

                                                        1
mandatory injunction at the early stages of the proceedings simply “should not be issued unless

the facts and law clearly favor the moving party.” Pham v. Univ. of La. at Monroe, 194 F. Supp.

3d 534, 543 (W.D. La. 2016); Harris v. Wilters, 596 F.2d 678, 680 (5th Cir. 1979) (citing

Exhibitors, 441 F.2d at 561). Whether or not an injunction shall issue is within the sound

discretion of the trial court. Exhibitors, 441 F.2d at 561. In its discretion, based on the totality of

the circumstances of this case, the Court finds this is one of those rare instances. Pursuant to

Federal Rules of Civil Procedure 65 and 52(a)(2), the Court finds as follows:

                                     I. FINDINGS OF FACT

       In May 2018 Jane Roe reported to Lt. Donald Parhm with the University of Southern

Mississippi Police Department an alleged sexual assault that took place sometime during the

early part (February) of the Spring Semester 2016. (Def. Ex. 1; USM0000125). Roe, at the urging

of a counselor at the Shafer Center, later reported the incident to Dr. Rebecca Malley, the

University’s Title IX coordinator and filed a complaint. (Id.; USM000080) Roe then signed a

statement, and Dr. Malley sent that statement to Plaintiff on June 25, 2018, along with a copy of

the University’s Sexual Misconduct Policy and Procedures. (Id.) The process continued, and Dr.

Malley met with Plaintiff on June 26, 2018 and explained the investigation and hearing process

to him. (Pl. Ex. 6-A) That same day, Dr. Malley sent a letter, advising Plaintiff who the panelists

on the Sexual Misconduct Investigative Team (SMIT) would be, as well as who his process

advisor was. (Id.) The SMIT would conduct the interviews, review the evidence and render the

decision. Plaintiff testified that Dr. Malley told him he could have no contact with Jane Roe or

any of the witnesses throughout the process.

       On July 8, 2018, Plaintiff sent Dr. Malley his statement. (Pl. Ex. 4) The next day he sent

her the names and phone numbers of two witnesses that he wanted interviewed. (Def. Ex. 3). He



                                                  2
testified there were no witnesses that he wanted to call that were not. The “formal investigative

hearing” was held on July 18 and 20, 2018, which consisted of interviews by the SMIT either in

person or by phone of Jane Doe (who was interviewed twice, once on each of the days), Plaintiff,

and six witnesses. (Pl. Ex. 10; USM0000152-165). In the hearing before the Court, Dr. Sayre

testified that the only people present in the room were the three panel members and a graduate

assistant who took notes. 2 Plaintiff was not allowed to be present during any of the interviews,

nor was he allowed to submit any questions to be asked of any of the witnesses, as the procedures

for the hearing do not allow for the parties to do so. (Def. Ex. 1; USM000099-124). On July 27,

2018, Dr. Malley sent Plaintiff a summary of all of the interviews and stated in her letter, “If you

see any changes/corrections/additions you want to make, send those to me in an email no later

than 5 p.m. on August 3 (next Friday).” (Pl. Ex. 10; USM0000151). The SMIT conducted the

interviews, evaluated the evidence, deliberated and then rendered its decision.

         On August 10, 2018, the University’s Title IX Office advised Plaintiff that the SMIT had

determined that Plaintiff violated the University’s Sexual Misconduct Policy, that disciplinary

sanctions would be issued, and that Plaintiff would be informed of the sanctions no later than

August 24, 2018. (Pl. Ex. 13). In a letter dated August 21, 2018, the Vice President of Student

Affairs notified Plaintiff that a sanction of a one-year suspension was being imposed. (Pl. Ex.

14). On August 28, 2018, through an attorney, Plaintiff filed an appeal with the Title IX

Coordinator. (Def. Ex. 11). On September 7, 2018, Dr. Malley informed Plaintiff that the appeals

officer would be issuing a decision by the end of the day on September 20, 2018. (Def. Ex. 12)

         At the hearing, Plaintiff testified as to his version of what happened on the night in

question. He also testified that when he got a summary of the testimony, he did not respond to it


2
  The assistant was not present for Plaintiff’s interview because she tutored him in the past and felt it prudent to
recuse herself.

                                                            3
because he thought the panel would see the inconsistencies, he told the truth, and he gave them

all he had. Plaintiff further testified at the hearing that he needed six hours to graduate; that he is

currently enrolled in his final two classes; and he has participated in some online activity in those

classes. He further testified that he attends school on an athletic scholarship, which requires

taking classes and participating in football. If his suspension continues, he will lose his

scholarship. He is the youngest of eighteen (18) children and without his scholarship, he cannot

afford to attend school and will be unable to graduate. He believes if he tried to go to another

school all of his credit hours would not transfer and without the ability to attend USM that his

goal of getting his degree would be unachievable.

                                  II. CONCLUSIONS OF LAW

       Plaintiff put forth three arguments for entitlement to an injunction—his Title IX claim

under an erroneous outcome theory based on gender discrimination and his Section 1983 claims

for substantive and procedural due process violations. Because the Court finds that Plaintiff has

carried his instant burden only as to the procedural due process violation, it will not address the

other claims at this time.

       A.      Standard for Preliminary Injunction.

       It has long been the law that to be entitled to injunctive relief, a party must show “(1) a

substantial likelihood that plaintiff will prevail on the merits, (2) a substantial threat that

irreparable injury will result if the injunction is not granted, (3) the threatened injury if the

injunction is denied outweighs any harm that will result if injunction is granted, and (4) the

granting of the injunction will not disserve the public interest. PCI Transp., Inc. v. Fort Worth,

W.R.R. Co., 418 F. 3d 535, 545 (5th Cir. 2001) (citation and quotations omitted). A preliminary

injunction is an extraordinary remedy and should not be granted unless the party prevails on all



                                                  4
four elements. Planned Parenthood Ass’n of Hidalgo Cty. Tex,, Inc. v. Suehs, 692 F.3d 343, 348

(5th Cir. 2012).

         B.        Analysis of the Factors.

                  1.       A substantial likelihood of success on the merits.

         When looking at alleged violations of procedural due process, the first question to be

asked is “under the circumstances of the case, how much procedure is due?” Defendants argue

that in a school disciplinary proceeding, a respondent only has to be afforded notice and the

opportunity to be heard. Defendants rely on Esfeller v. O’Keefe, 391 Fed. Appx 337 (5th Cir.

2010) for that proposition. However, the Court finds Esfeller inapplicable. First, it is an

unpublished case decided after January 1, 1996, and thus, is not Fifth Circuit precedent. See 5th

CIR. R. 47.5.4. Second, the case does not involve sexual assault but rather harassment of another

student so the issues are a bit different. And third, to the extent the opinion relied on Goss v.

Lopez, a Supreme Court case from 1975, Goss involved a several day suspension of high school

students for disruptive and disobedient conduct, which is a far cry from a case involving a sexual

assault and significant consequences where credibility is key. 3

         Plaintiff argues, on the other hand, that in this he said/she said scenario, involving

accusations of sexual misconduct where credibility is the central issue, more is required and that

Plaintiff was entitled to confront the witnesses against him by cross examination and also to ask

follow-up questions. The Court has considered the notes from the SMIT investigative interviews

and the testimony of Dr. Sayre, and contradictions abound.


3
  In its Supplemental Response dated 9/13/18, Defendants distinguish Baum and, in addition to continuing to rely on
Esfeller, also cite to Dixon v. Alabama State Bd. of Education. Dixon is a 1961 case wherein black students
participating in demonstrations were expelled from school without any explanation. 294 F.2d at 152-153. The fact
that some sort of hearing was required is now considered axiomatic. While this Court occasionally cites to Dixon for
general propositions regarding due process and has in this very Order, the Court does not find it to be the definitive
law in a case 57 years later involving quasi-criminal misconduct involving sexual assault.

                                                          5
       Plaintiff relies on the recently issued Sixth Circuit case of Doe v. Baum, ___ F.3d ___,

2018 WL 4265634, No. 2:16-cv-13174, (6th Cir. Sept. 7, 2018) and the dissent in Fifth Circuit

case of Plummer v. University of Houston, 860 F.3d 767 (5th Cir. 2017). The court in Baum,

although deciding a Motion to Dismiss, does an excellent job of explaining the unique aspects of

this type of case where credibility is at issue and the consequences are grave if a party is found

“responsible.” Also, while the majority of the Fifth Circuit panel in Plummer admonishes that

“[a] university is not a court of law, and it is neither practical nor desirable it be one,” the court

goes on to state that “[t]he nature of the hearing should vary depending upon the circumstances

of the particular case.” 860 F.3d at 773 (citing Dixon, 294 F.2d at 158). So as the court stated in

Baum, “when it comes to due process, the ‘opportunity to be heard’ is the constitutional

minimum . . . [b]ut determining what being “heard” looks like in each particular case is a harder

question.” 2018 WL 426534 at *3. The Court finds under the unique circumstances of this case

that the Plaintiff is likely to prevail on the merits of his procedural due process claim.

       The specific dictates of due process generally require consideration of three distinct

factors, known as the Mathews factors: (a) the nature of the private interest subject to official

action; (b) the risk of erroneous deprivation under the current procedures used, and the value of

any additional or substitute procedural safeguards; and (c) the University’s interest, including the

burden any additional or substitute procedures might entail. See Mathews v. Eldridge, 424 U.S.

319, 335 (1976); Plummer, 860 F.3d at 773. At times only the minimum protection is required,

but when longer suspensions or expulsions are at issue, more formal procedures may be required.

Goss, 419 U.S. at 584. Again, “[t]he nature of the hearing should vary depending on the

circumstances of the particular case.” Dixon v. Ala. State Bd. of Educ., 294 F.2d 150, 158 (5th

Cir. 1961).



                                                  6
       Reviewing this case under the Mathews factors, the Court finds, as the court did in

Plummer, the first and third factors are easily identified. See Plummer, 860 F.3d at 773 Plaintiff

has a liberty interest in his higher education and the sanctions imposed could have a “substantial

lasting impact on appellants’ personal lives.” Id. (citing to Dixon, 294 F.2d at 157 and Doe v.

Cummins, 662 Fed. Appx. 437, 446 (6th Cir. 2016)(unpublished)); Plaintiff also has a liberty

interest in his reputation. See Wisconsin v. Constantineau, 400 U.S. 433, 437 (1971) (“Where a

person's good name, reputation, honor, or integrity is at stake because of what the government is

doing to him, notice and an opportunity to be heard are essential”).

       “On the other hand, the University has a strong interest in the ‘educational process,’

including maintaining a safe learning environment for all its students, while preserving its limited

administrative resources.” Plummer, 860 F.3d at 773 (citing Goss, 419 U.S. at 580, 583 and

Gorman v. Univ. of Rhode Island, 827 F.2d 7, 14-15 (1st Cir. 1988)). However, allowing one

accused of sexual misconduct to be present to hear the testimony and ask his/her questions either

live or through written submission would not cost the University anything as far as resources are

concerned.

       With regard to the second factor, the risk of erroneously depriving Plaintiff’s interests

under the procedures used, and the value of additional or substitute procedural safeguards, the

Court finds the procedures under the facts of this case inadequate. The value of the additional

safeguards is immense in a he said/she said situation. When credibility is at issue, it is crucial to

be able to attempt to draw out the truth and should be required in circumstances like these

“because it is ‘the greatest legal engine ever invented’ for uncovering the truth.” Baum, 2018 WL

426534 at *3 (citing Doe v. Univ. of Cincinnati, 872 F.3d 393, 399-402 (6th Cir. 2017)).




                                                 7
Although cross examination is required in the Sixth Circuit, 4 it has not yet been the

pronouncement of the Fifth Circuit. That having been said, the right set of circumstances has not

yet been before the Fifth Circuit. The Court finds that this is such a case where the Fifth Circuit

is likely to follow the lead of its sister circuit.

        In Plummer, a case involving sexual assault, the court certainly hinted that under the right

set of facts, it could find that cross examination is warranted, but the facts of Plummer did not

lend themselves to such a holding. 5 See 860 F.3d 774, 775. Because there were graphic videos

depicting the incidents, the court found that further procedural safeguards would not have

lessened the risk of erroneous deprivation of the respondents’ interests or altered the outcome.

Id. at 774. 6 Further, the adjudication did not rely on the testimony of the female student who was

assaulted—she remembered very little; it was the videos and photographs. Id. 7 Thus, while the

Fifth Circuit has not held that cross examination is required, it has certainly never held that it is

strictly prohibited. This Court finds that this is a case where cross examination is warranted

because such a procedural safeguard would have lessened the risk of an erroneous deprivation.

        Here, the panel accepted Jane Roe’s version of events despite the fact that more than one

witness questioned her truthfulness and Lt. Parhm, the only highly trained investigator, flatly said

he did not find her credible. She had more than one reported incident involving the University

police. Plaintiff, on the other hand, had never been in trouble, and a female witness, who had

known him for a while, told the panel, this [alleged sexual assault] was out of character for him.


4
  The court in Baum notes that it was in Flaim v. Medical College of Ohio, 418 F.3d 629, 641 (6th Cir. 2005), that
the Sixth Circuit first suggested that cross-examination maybe required in a school disciplinary proceeding where
credibility was the key question and made it the law of the circuit in Doe v. Cincinnati. ___ at 2.
5
  “[T]he unique facts of this case render it unnecessary that we draw any determinative line regarding sufficient
procedures in statue university disciplinary cases.” Plummer, 860 F.3d 774. “This case does not require that we
determine whether confrontation and cross-examination would ever be constitutionally required in student
disciplinary proceedings.” Id. at 775.
6
  Judge Jones, in her dissent, strongly felt otherwise. Plummer, 860 F.3d at 778-784.
7
  Here, the panel’s notes reflect that their decision “may turn on the veracity of the Ws.” (Pl. Ex. 1; USM 000310).

                                                         8
(Pl. Ex. 1, USM 000329). The panel failed to flesh out inconsistencies in her story when she was

questioned, 8 which Plaintiff could have done if allowed to hear the testimony live.

         It is true that Plaintiff was provided an opportunity to make changes, additions, or

corrections, to the summaries of the testimony, but that just creates more he said/she said. He

could not know whether the summary was correct because he never heard the testimony in the

first place. Writing a rebuttal after the testimony is complete is not the same as cross

examination, which provides the opportunity to assess the person’s demeanor when asked certain

questions and flesh out inconsistencies in a search for the truth. This is particularly true in this

case where one of the main points of undermining Plaintiff’s credibility was the panel’s

conclusion that Plaintiff knew about the allegation of sexual assault back in 2016 based on the

testimony of                         . (Pl. Ex. 13, USM 000194). There are three sets of what appear to

be contemporaneous notes by the panel members and not one notes that                                                told

Plaintiff about the assault in October 2016 (Pl. Ex. 1, USM 000294-295; USM 000299; USM

000329). Only a summary in the notes provides for such a fact. (USM 000300).

         What does seem clear from the notes is that Ms.                         noticed a change in Jane Roe in

Spring semester 2018 and also saw an Instagram post of Jane Doe during the same semester that

indicated depression; Ms.                  asked Ms.               about it; and Ms.               told Ms.

at that time about the alleged assault that occurred back in 2016. Why would she have claimed to


8
    For example, Jane Roe first told Officer Parham that she knew Plaintiff for about two weeks before they started
texting the day of the incident and that she met him at outside of the Thad Center. However, she told the panel that
when she met Plaintiff outside of the Thad Center, it was the day of the incident. Also, in the summary of the
testimony, Dr. Sayre asked Jane Roe if she told her roommate and then others over time, and Roe said yes, her
roommate and then she told                         and                    . (Pl. Ex. 2, USM 000219; Pl. Ex. 1, USM
00315).                      told the panel that Roe never told him about the alleged assault. (Pl. Ex. 1 USM 000293,
USM 00320; Pl. Ex. 2 USM 000227), and                           never stated that Roe told her, and she apparently was
not asked. Roe never told the panel she told                     , but        told the panel that Jane Roe told her about
it a couple of days after the incident. (Pl. Ex. 2 at 2; USM 000219, 000225). Moreover, although Roe told others
about the assault, the panel did not ask any specifics about the details Roe gave others because, as Dr. Sayre testified,
the panel did not see it as important whether the details she told others corroborated the details she told the panel.

                                                           9
learn about it from Ms.              if she knew about it October 2016? It appears no one followed

up to clarify, or at least there are no notes in that regard. Ms.         never stated that Jane Roe

told her about the assault, as Jane Roe claimed. Yet, the panel concluded that Ms.               told

Plaintiff about the assault during a car ride in Fall 2016. (USM 000193).

          These are but a few examples of the live testimony that could have been addressed and

cleared up at the time, but these in particular went directly to the panel’s assessment of credibility

and could have affected the outcome of this case. Without a live proceeding with Plaintiff

present, the risk of erroneous deprivation of Plaintiff’s interest in his reputation, education, and

employment is significant. Additional procedural safeguards such as hearing the testimony and

either being able to ask questions or submit questions would both assist the truth-seeking process

and help to ensure the protection of Plaintiff’s constitutional rights. Because the Court finds that

the Mathews factors weigh in Plaintiff’s favor, the Court finds that there is a substantial

likelihood on the success of the merits of Plaintiff’s procedural due process claim.

                   2. A substantial threat that irreparable injury will result if the injunction is
                      not granted.

          With regard to the second factor Plaintiff must show, the evidence thus far reveals that

Plaintiff is the youngest of eighteen children, all from the same mother. He is a senior, needing

six (6) credit hours to graduate, and his only means of finishing school is his athletic scholarship.

If he is not able to play football, he loses his scholarship and his ability to finish his degree and

attempt to move on to the NFL in the spring. 9 The Court finds Plaintiff has carried his burden in

this regard.




9
    See also Def. Ex. 10.

                                                  10
                  3. The threatened injury if injunction is denied outweighs the harm that will
                     result if injunction is granted.

         The ability for Plaintiff to continue in school and graduate is in jeopardy if the injunction

is denied. Should the injunction be granted, what harm would result? Plaintiff has no record of

any prior or subsequent disciplinary issues. While it is unclear whether Jane Roe is currently

attending classes, the parties went to school together for two years between the time of the

incident and its reporting without any further incidents or altercations. Officer Parham told the

panel that the parties have had no contact as of July 2018 and that Jane Roe reported that Plaintiff

did not pose a threat to her in any kind of way. (Pl. Ex. 2, USM 000222). Thus, Plaintiff’s return

to school would not result in harm to either Jane Roe or the University at large. As such, the

Court finds the Plaintiff has carried his burden in this regard as well.

                  4.       The granting of injunction will not disserve the public interest.

         Finally, with regard to whether the injunction will disserve the public interest, protecting

a person’s constitutional right to due process is always in the public interest. See Am. Civ.

Liberties Union Fund of Mich. V. Livingston Cnty., 796 F.3d 636, 649 (6th Cir. 2015)(“[W]hen a

constitutional violation is likely . . . the public interest militates in favor of injunctive relief

because it is always in the public interest to prevent violation of constitutional rights.”). 10

Accordingly, the public interest is not only not disserved but also served. Thus, Plaintiff has

carried his burden in this regard as well.




10
   Defendants argue that the showing must be that the injunction serves the public interest; however, the Fifth Circuit
has clearly stated that in Canal Authority of State of Florida v. Callaway, 489 F.2d 567 (5th Cir.1974), the court had
established the requirements that must be shown before a party is entitled to injunctive relief, and the fourth element
is that the injunction “will not disserve the public interest.” Miss. Power & Light Co. v. United Gas Pipe Line Co.,
760 F.2d 618, 621 (5th Cir. 1985). Nevertheless, this Court finds the injunction will also serve the public interest.

                                                         11
                                          IV. CONCLUSION

        On balance, the aforementioned factors favor an award of injunctive relief, and the Court

finds a preliminary injunction is warranted. Despite the host of remedies Plaintiff requests, the

scope of the injunction shall be quite limited. Thus, in so far as Plaintiff seeks relief beyond what

is ordered below, the motion is denied. In addition, it appears of all the Defendants, President

Bennett is the proper party to effectuate the injunctive relief ordered. 11 Accordingly, it is hereby

ORDERED that President Bennett shall:

        (1)     immediately reinstate Plaintiff as a student in good standing at the University
                during the pendency of this matter; and

        (2)     allow Plaintiff to enter campus for the purpose of attending the courses at the
                University that he is presently enrolled in and all activities necessary to maintain
                his athletic scholarship, which may include, inter alia, training, practices, games,
                team meetings, and the like.

        Finally, because the Court finds there would be no monetary damage to the University

should this injunction be found to be wrongfully entered, in its discretion, the Court will not

require Plaintiff to post any security pursuant to Federal Rule of Civil Procedure 65(c). Kaepa,

Inc. v. Achilles Corp., 76 F.3d 624, 628 (5th Cir. 1996).

        SO ORDERED AND ADJUDGED this 13th day of September, 2018.


                                                          _/s/ Keith Starrett ____________
                                                          KEITH STARRETT
                                                          UNITED STATES DISTRICT JUDGE




11
  See Doe v. Univ. of Miss., No. 3:16-cv-63-DPJ-FKB, 2018 WL 3570229 at *3 (July 24, 2018) (addressing the Ex
Parte Young exception and citing cases regarding which state official has authority to grant relief sought).

                                                     12
